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EXHIBIT 4
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         IN THE UNITED STATES DISTRICT COURT FOR THE
                NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

WILLIAM T. QUINN and DAVID CROSS,

            Plaintiffs,
                                              Case 1:24-cv-04364-SCJ
v.

BRAD RAFFENSPERGER, in his official
capacity as Secretary of State of Georgia,

            Defendant.


                  DECLARATION OF NICHOLA HINES
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Pursuant to 28 U.S.C. § 1746, I, Nichola Hines, declare as follows:

      1.     I am the President of the League of Women Voters of Georgia

(“LWVGA”) and a member of the local Fulton County branch. I am also a resident

and registered voter in Fulton County.

      2.     I am over 18 years of age and I am competent to make this declaration.

      3.     I have personal knowledge of the matters stated herein and would

testify to the same if called as a witness in Court.

      4.     The LWVGA is a nonpartisan organization that has worked for the last

103 years to ensure that every person has the desire, the right, the knowledge, and

the confidence to participate in our democracy. The LWVGA has 13 local

organizations and nearly 700 members who are dedicated to their mission of

empowering voters and defending democracy.

      5.     From the LWVGA’s inception, members have promoted good

government by studying issues, advocating for reforms, and, through the Observer

Corps, observing and reporting on the work of all levels of government. The

LWVGA is committed to assisting Georgians registering to vote, regardless of their

political affiliation, and is particularly proud of its work with other Georgia civic

engagement and voting rights advocates in registering new American citizens at

citizenship ceremonies.

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      6.      As part of its mission, the LWGVA advocates for expansion of voting

opportunities, including through absentee by mail voting, early in-person voting, and

election day voting.

      7.      The LWVGA expends significant resources in furtherance of its voting-

related mission, including by organizing voter registration drives, educating the

public about the voting process, engaging in mass-mailing campaigns targeted at

voter education and voter registration, and assisting voters who have questions or

need help navigating the voting process—including voters who are the subject of

registration challenges or other questions to their eligibility.

      8.      With respect to the upcoming November 5, 2024 General Election, the

LWVGA has participated in numerous voter registration drives and is mailing

thousands of postcards to Georgians who are not active voters—particularly women

between the ages of 18-34 and Black men to encourage them to confirm their

registration status ahead of the upcoming General Election. LWVGA intends to

continue its outreach and voter education work throughout the 2024 election cycle

and beyond.

      9.      I am aware the Complaint filed by Mr. Quinn and Mr. Cross demands

that the Georgia Secretary of State initiate list maintenance with respect to voters




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that Mr. Quinn and Mr. Cross allege have moved, and to do so before the November

5, 2024 General Election.

      10.    Specifically, I am aware that Mr. Quinn and Mr. Cross demand that the

Court order the Georgia Secretary of State to send notices to voters who they allege

have moved and place those voters into inactive status on the voter rolls if they fail

to respond within 30 days, also before the November 5, 2024 General Election.

      11.    I and the LWVGA are concerned that Plaintiffs’ litigation, if successful,

risks potentially disenfranchising LWVGA members across Georgia. Specifically,

we also worry that voters who thought that they were properly registered to vote will

find themselves facing unnecessary burdens on their right to vote after being

incorrectly labeled as ineligible by the data analysis that Mr. Quinn and Mr. Cross

have allegedly done.

      12.    Declaring that the Secretary of State must send mailings to voters

notifying them that they are potentially ineligible would also force the LWVGA to

have to dedicate additional resources to assisting voters who are confused about their

registration status and their options for voting. Because of LWVGA’s limited

resources, this effort would come at the expense of its other voter education, voter

registration, and election protection efforts.




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